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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 ANN LOWRY,                                        §
                                                   §
                 Plaintiff,                        §
                                                   §
 vs.                                               §    CIVIL ACTION NO. 4:20-cv-242
                                                   §
 AIR LIQUIDE ELECTRONICS                           §
 U.S. LP,                                          §
                                                   §
                 Defendant.                        §

                   JOINT MOTION TO STAY PENDING ARBITRATION

        Plaintiff Ann Lowry (“Plaintiff”) and Air Liquide Electronics U.S. LP (“Defendant”) move

to stay this suit pending arbitration.

        Plaintiff and Defendant are parties to an arbitration agreement that covers all of the claims

brought by Plaintiff in this lawsuit. Specifically, on May 12, 2015, Plaintiff signed the Alternative

Dispute Resolution Agreement (“ADR Agreement”), which requires all claims arising out of or

relating to Plaintiff’s employment or termination of employment to be resolved through arbitration.

See Exhibit A, Alternative Dispute Resolution Agreement.             In accordance with the ADR

Agreement, the Parties agree to stay this matter and proceed with Plaintiff’s claims in arbitration.

Accordingly, the Parties request that the Court enter an order to stay this matter pending arbitration.

        WHEREFORE, the Parties respectfully request an order staying this lawsuit pending the

arbitration of this matter.




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 Dated: April 14, 2020                    Respectfully submitted,



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                                          ANN LOWRY


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                                CERTIFICATE OF SERVICE

       On April 14, 2020, I electronically submitted the foregoing document with the clerk of court
for the U.S. District Court, Eastern District of Texas and electronically served same, using the
Case Management/Electronic Case Filing (CM/ECF) system of the Court. The CM/ECF system
sent a Notice of Electronic Filing to the following counsel of record, who has consented in writing
to accept service of this document by electronic means:

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